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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

League of Women Voters, et al.,                        No.: 2:20-cv-03537-RMG

               Plaintiff,

          v.                                             Notice of Filing
                                                     Supplemental Declaration
Marci Andino, et al.,                                    of Marci Andino

               Defendants.



          PLEASE TAKE NOTICE that the attached Supplemental Declaration of Marci

Andino, dated October 19, 2020, is being filed in this matter.

                                                Respectfully Submitted,

                                                s/ Wm. Grayson Lambert
                                                Wm. Grayson Lambert
                                                Fed. ID No. 11761
                                                M. Elizabeth Crum
                                                Fed. ID No. 372
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                    Exhibit 1
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